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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

   IN RE:                                             §
                                                      §
   HIGHLAND SELECT EQUITY                             §          CASE NO. 23-31039-mvl7
   FUND GP, L.P.,                                     §
                                                      §
            Debtor.

             APPLICATION BY TRUSTEE TO EMPLOY PASSMAN & JONES,
            P.C., AS SPECIAL COUNSEL TO THE TRUSTEE NUNC PRO TUNC

            NO HEARING WILL BE CONDUCTED HEREON UNLESS A
            WRITTEN RESPONSE IS FILED WITH THE CLERK OF THE
            UNITED STATES BANKRUPTCY COURT, 1100 COMMERCE
            STREET, SUITE 1254, DALLAS, TEXAS 75242 ON OR BEFORE
            CLOSE OF BUSINESS TWENTY-FOUR (24) DAYS FROM THE
            DATE OF SERVICE HEREOF.

            ANY RESPONSE SHALL BE IN WRITING AND FILED WITH
            THE CLERK, AND A COPY SHALL BE SERVED UPON
            COUNSEL FOR THE TRUSTEE PRIOR TO THE DATE AND
            TIME SET FORTH HEREIN. IF A RESPONSE IS FILED, A
            HEARING WILL BE HELD WITH NOTICE ONLY TO THE
            RESPONDING PARTY.

            IF NO RESPONSE IS TIMELY FILED, THE RELIEF
            REQUESTED MAY BE DEEMED TO BE UNOPPOSED, AND THE
            COURT MAY ENTER AN ORDER GRANTING THE RELIEF
            SOUGHT WITHOUT CONDUCTING A HEARING.

   TO THE HONORABLE MICHALLE V. LARSON
   UNITED STATES BANKRUPTCY JUDGE:

            COMES NOW, Scott M. Seidel, Trustee (hereinafter the “Trustee”), and files this

   Trustee’s Application to Employ Passman & Jones as Special Counsel to the Trustee

   (“Application”), and, in support thereof, would respectfully show this Court as follows:




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            1.      On May 25, 2023 Highland Select Equity Fund GP, L.P. (the "Debtor")

   filed for relief under Chapter 7 of Title 11 of the United States Bankruptcy Code. Scott

   Seidel was appointed Chapter 7 Trustee and continues to act in his capacity as Trustee.

            2.      In the interim, Passman & Jones, P.C. assisted the Trustee with various

   aspects of this case. The Trustee now wishes to employ the law firm of Passman &

   Jones, P.C., 2500 Renaissance Tower, 1201 Elm Street, Dallas, Texas 75270, as his

   Counsel in this case. The Trustee has selected the law firm of Passman & Jones, P.C.,

   due to the considerable experience of the attorneys at Passman & Jones in handling

   matters of this character. Passman & Jones’ attorneys are admitted to practice before this

   Court, and are well qualified to represent the Trustee in this case.

            3.      From the initiation of this case through today, Passman & Jones, P.C.

   incurred fees and acted in good faith on behalf of the Estate in assisting the Trustee with

   regard to various matters. Therefore, the Trustee believes that exceptional circumstances

   are present in this case to warrant the nunc pro tunc approval of the Passman & Jones

   firm.

            4.      The professional services which Passman & Jones will render include, but

   are not limited to, the following:

                 a. Furnishing legal advice to the Trustee with regard to his powers, duties

                    and responsibilities as a Chapter 7 Trustee;

                 b. The preparation, for and on behalf of the Trustee, of all necessary

                    applications, motions, answers, orders, reports and other legal papers;

                 c. Investigating and prosecuting preference and fraudulent transfer actions

                    arising under the avoidance powers of the Bankruptcy Code;


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                 d. To appear for, prosecute, defend and represent Applicant’s interest in suits

                    arising in or related to this case; and

                 e. Performing all other legal services for the Trustee which may be necessary

                    herein.

            5.      To the best of Trustee’s knowledge, the law firm of Passman & Jones,

   P.C., does not have any connection with either the creditors or any other party-in-interest

   which would prevent its employment as attorneys for the Trustee herein.

            6.      The terms of employment of Passman & Jones, as agreed to by the Trustee

   and subject to the approval of this Court, are that certain attorneys and personnel within

   the firm will undertake the representation of the Trustee at their respective standard

   hourly rates charged to all other clients, whether in bankruptcy or non-bankruptcy related

   matters. The Trustee has been informed that the normal hourly billing rates of Passman

   & Jones range from $450.00 to $525.00 per hour for shareholders, $450.00 per hour for

   associates, and $100.00 to $200.00 per hour for paralegals. The hourly rates charged by

   the firm are subject to periodic adjustments to reflect changing economic conditions and

   the increasing experience and expertise of its attorneys and personnel in the area of

   bankruptcy law. Consistent with the rules and procedures of this District, counsel for the

   Trustee will file interim fee applications for approval of the payment for the fees and

   expenses incurred. It is anticipated that fees and expenses will be paid from monies in

   the estate, if any.

            7.      The firm of Passman & Jones, P.C., represents no interest adverse to either

   the Trustee or the estate in the matters to which it will be engaged for the Trustee and the




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   employment of said firm would serve the best interests of this estate as set forth in

   Exhibit "A" attached hereto.

            WHEREFORE, PREMISES CONSIDERED, Scott M. Seidel, Trustee, requests

   that this Honorable Court approve his employment of Passman & Jones, P.C., nunc pro

   tunc, effective as of June 1, 2023, under the terms specified hereinabove, together with

   such other and further relief to which he may be justly entitled.

                                                       Respectfully submitted,



                                                       /s/ Jerry C. Alexander
                                                       Jerry C. Alexander
                                                       Texas Bar No. 00993500
                                                       PASSMAN & JONES
                                                       1201 Elm Street, Suite 2500
                                                       Dallas, Texas 75270
                                                       Telephone (214) 742-2121
                                                       Facsimile (214) 748-7949
                                                       Email: alexanderj@passmanjones.com

                                                       PROPOSED SPECIAL COUNSEL
                                                       FOR TRUSTEE




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                                   CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the above and foregoing has been
   served via ECF/PACER and/or First Class U.S. Mail, postage prepaid, and/or via
   electronic mail, to the parties set forth on the attached service list on this the 2nd day of
   October 2023.

                                                       /s/ Jerry C. Alexander
                                                       Jerry C. Alexander




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                         EXHIBIT “A” - AFFIDAVIT IN SUPPORT OF

                     APPLICATION TO EMPLOY SPECIAL COUNSEL

   STATE OF TEXAS                    §
                                     §
   COUNTY OF DALLAS                  §

         BEFORE ME, the undersigned authority, on this day personally appeared Jerry C.
   Alexander, who, being duly sworn, states upon his oath the following:
          (1)    “My name is Jerry C. Alexander. I am over twenty-one (21) years of age.
   I have never been convicted of a crime. I have personal knowledge of every statement
   made in this Affidavit and am fully competent to testify to the matters stated herein. I do
   hereby swear that all the facts contained herein are true and correct.”

         (2)    “My office is located at Passman & Jones, a Professional Corporation,
   1201 Elm Street, Suite 2500, in Dallas, Texas 75270.”

          (4)     “Passman & Jones, A Professional Corporation is a disinterested person as
   required by 11 U.S.C. §327(a).”

           (5)     “I have advised the Trustee of my willingness to accept employment as
   Special Counsel. I expressly reserve the right to seek interim compensation during the
   pendency of the bankruptcy upon application and order of the Court and further expressly
   reserve the right to seek full and final compensation upon application and order of the
   Court. No retainer has been given to me with regard to services to be rendered on behalf
   of the Trustee in this case.”

            (6)     I am a disinterested person as defined by 11 U.S.C. § 101(14).”

            FURTHER AFFIANT SAITH NOT.


                                                       Jerry C. Alexander

          SUBSCRIBED AND SWORN TO BEFORE ME, on this the 2nd day of October
   2023, to which witness my hand and official seal of office.



                                                       Notary Public, State of Texas




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